Case 4:21-cv-00471-JM Document 17-2 Filed 07/05/22 PageELECTRONICALLY
                                                        1 of 4        FILED
                                                          Pulaski County Circuit Court
                                                        Larry Crane, Circuit/County Clerk
                                                        2018-Dec-03 08:15:09
                                                           60CV-18-8248
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                                                        EXHIBIT 2
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                                                              d
                                                            oa
                                                        ilr
                                                     Ra




                        WASTE MANAGEMENT
                             LANDFILL




                                           POI: Double 6' X 6'
                                                Box Culvert




                                                                                                 FIGURE 1 - SITE MAP
                                                                                                      

         d                                                                         
       oa                                                                                                 
   ilr                                                                                                      

Ra
                                                                                                        


                                                                                                                               
                                                                                                                               
                                                                                         


                                                                                                 
